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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                       Plaintiff,              )              8:13CR214
                                               )
                       vs.                     )      ORDER FOR DISMISSAL
                                               )
JAMES BUCHHOLZ,                                )
                                               )
                       Defendant.              )


       Pursuant to Motion of the United States (Filing No. 59), pursuant to Federal Rule of

Criminal Procedure 48(a), leave of court is granted for the filing of the dismissal of the Indictment

against James Buchholz.

       IT IS ORDERED that the Motion to Dismiss the Indictment (Filing No. 59) is granted.

       Dated this 27th day of March, 2014.

                                               BY THE COURT:



                                               s/ Joseph F. Bataillon
                                               United States District Judge
